

Matter of Fishman (2023 NY Slip Op 05259)





Matter of Fishman


2023 NY Slip Op 05259


Decided on October 18, 2023


Appellate Division, Second Department


Per Curiam



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on October 18, 2023
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

HECTOR D. LASALLE, P.J.
MARK C. DILLON
COLLEEN D. DUFFY
FRANCESCA E. CONNOLLY
JANICE A. TAYLOR, JJ.


2023-04189

[*1]In the Matter of Martin S. Fishman, an attorney and counselor-at-law. Grievance Committee for the Ninth Judicial District, petitioner; Martin S. Fishman, respondent. (Attorney Registration No. 1232800)



DISCIPLINARY PROCEEDING instituted by the Grievance Committee for the Ninth Judicial District. The respondent was admitted to the Bar at a term of the Appellate Division of the Supreme Court in the First Judicial Department on April 11, 1977.



Courtny Osterling, White Plains, NY (Anthony R. Wynne of counsel), for petitioner.



PER CURIAM


OPINION &amp; ORDER
. 	On May 11, 2023, the Grievance Committee for the Ninth Judicial District personally served the respondent with a notice of petition and a verified petition, both dated May 4, 2023, and duly filed those papers with this Court together with an affidavit of service. The petition contains one charge of professional misconduct, alleging that the respondent engaged in conduct prejudicial to the administration of justice and conduct adversely reflecting on his fitness as a lawyer by failing to timely and/or fully cooperate with the Grievance Committee's investigation of a complaint concerning his professional conduct, in violation of rule 8.4(d) and (h) of the Rules of Professional Conduct (22 NYCRR 1200.0).
The notice of petition directed the respondent to serve and file his answer to the verified petition within 20 days after service upon him of the notice of petition and the verified petition. To date, the respondent has neither served nor filed an answer to the verified petition as directed, nor requested additional time in which to do so.
The Grievance Committee now moves to deem the charge against the respondent established based upon his default and to impose such discipline upon him as this Court deems appropriate. Although the motion papers were served upon the respondent on June 13, 2023, by personal delivery, he has neither opposed this motion nor interposed any response thereto.
By separate motion, the Grievance Committee moves, inter alia, to immediately suspend the respondent from the practice of law pursuant to 22 NYCRR 1240.9(a)(1) and (3), upon a finding that he is guilty of professional misconduct immediately threatening the public interest. To date, the respondent has neither opposed this motion nor interposed any response thereto.
Accordingly, the Grievance Committee's motion to deem the charge against the respondent established based upon his default is granted, the charge in the verified petition dated May 4, 2023, is deemed established, and, effective immediately, the respondent is disbarred and his name is stricken from the roll of attorneys and counselors-at-law. The separate motion seeking to, inter alia, immediately suspend the respondent from the practice of law is denied as academic.
LASALLE, P.J., DILLON, DUFFY, CONNOLLY, and TAYLOR, JJ., concur.
ORDERED that the motion of the Grievance Committee to deem the charge in the verified petition dated May 4, 2023, established is granted, and the Grievance Committee's separate motion, inter alia, pursuant to 22 NYCRR 1240.9(a)(1) and (3) to immediately suspend the respondent, Martin S. Fishman, from the practice of law is denied as academic; and it is further,
ORDERED that pursuant to Judiciary Law § 90, effective immediately, the respondent, Martin S. Fishman, is disbarred, and his name is stricken from the roll of attorneys and counselors-at-law; and it is further,
ORDERED that the respondent, Martin S. Fishman, shall comply with the rules governing the conduct of disbarred or suspended attorneys (see  22 NYCRR 1240.15); and it is further,
ORDERED that pursuant to Judiciary Law § 90, the respondent, Martin S. Fishman, shall desist and refrain from (1) practicing law in any form, either as principal or as agent, clerk, or employee of another, (2) appearing as an attorney or counselor-at-law before any court, Judge, Justice, board, commission, or other public authority, (3) giving to another an opinion as to the law or its application or any advice in relation thereto, and (4) holding himself out in any way as an attorney and counselor-at-law; and it is further,
ORDERED that if the respondent, Martin S. Fishman, has been issued a secure pass by the Office of Court Administration, it shall be returned forthwith to the issuing agency, and the respondent shall certify to the same in his affidavit of compliance pursuant to 22 NYCRR 1240.15(f).
ENTER:
Darrell M. Joseph
Acting Clerk of the Court








